                                      United States Bankruptcy Court
                                      Middle District of Tennessee
In re:                                                                                  Case No. 19-01971-RSM
Capstone Pediatrics, PLLC                                                               Chapter 11
         Debtor
                                        CERTIFICATE OF NOTICE
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                               Form ID: hrgnot              Total Noticed: 364


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 26, 2019.
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cr             +Fairway-Galt, LLC,    Bone McAllester Norton,    c/o Sean C. Kirk,    511 Union St., Suite 1600,
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6875659        +ADVANCE SIGNS & GRAPHICS,    1005 WEST MAIN STREET,    LEBANON, TN 37087-3301
6875853         AETNA,   P. O. BOX 14079,    LEXINGTON, KY 40512-4079
6875819         AETNA INSURANCE COMPANY,    P. O. BOX 784836,    PHILADELPHIA, PA 19178-4836
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6875795        +AKHENIA CONERLY,    296 RALEIGH DR, APT. B,    CLARKSVILLE, TN 37043-1971
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6875685         AMERICAN MESSAGING,    P. O. BOX 5749,    CAROL STREAM, IL 60197-5749
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6875814         ANDREA BROZEWSKI,    303 EARHEART RD,    HERMITAGE, TN 37076
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6875782       #+ANGELICA P. GUZMAN,    1933 FAWNS CREEK CROSSING,    MT. JULIET TN 37122-1229
6875681        +ASE TECHNOLOGY,    7113 PEACH COURT, SUITE 200,    BRENTWOOD, TN 37027-3240
6875558        +ATHENAHEALTH, INC.,    311 ARSENAL STREET,    WATERTOWN, MA 02472-2785
6875761         ATMOS ENERGY,    P. O. BOX 790311,     ST. LOUIS, MO 63179-0311
6875852        +AUDIOLOGY SYSTEMS, ATTN: SCOTT BREWER,     50 COMMERCE DRIVE, SUITE 180,
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6875758         AUDIOLOGY SYSTEMS, INC,    DEPT CH 16948,    PALATINE, IL 60055-6948
6896055        +AUTISM SPEAKS,    900 CIRCLE 75 PKWY STE 445,    ATLANTA, GA 30339-3061
6875653         BARTON & ASSOCIATES,    P.O. BOX 417844,    BOSTON, MA 02241-7844
6875700        +BASS, BERRY & SIMS PLC,    150 THIRD AVENUE SOUTH, SUITE 2800,     NASHVILLE, TN 37201-2017
6875770        +BCBS OF TN, ATTN: CLAIM REFUND DEPT,     1 CAMERON HILL CIRCLE, BLDG 13,
                 CHATTANOOGA, TN 37402-0013
6875715        +BCBST,   1 CAMERON HILL CIRCLE,    CHATTANOOGA, TN 37402-0031
6875704        +BENTLEY’S AIR CONDITIONING,    109 HARTMANN DRIVE,    LEBANON, TN 37087-2515
6896056         BERKSHIRE HATHAWAY GUARD INS COMPANY,     P.O. BOX 785570,    PHILADELPHIA, PA 19178-5570
6891190         BESSE MEDICAL,    c/o Alan S. Kleiman ,Esq.,    Mendelson Law Firm,    P.O. Box 17235,
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6875642         BESSE MEDICAL SUPPLY,    1576 SOLUTIONS CTR,    CHICAGO, IL 60677-1005
6875647        +BETTER BUSINESS SOLUTIONS,    P.O.BOX 3549,    BRENTWOOD TN 37024-3549
6896057         BLUECROSS BLUESHIELD OF TN,    P.O. BOX 6539,    CAROL STREAM, IL 60197-6539
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6875668        +BRAVO CONSTRUCTION,    936 CARTHAGE HIGHWAY,     LEBANON, TN 37087-4613
6875763        +BRIDGES,    935 EDGEHILL AVENUE,    NASHVILLE, TN 37203-4990
6875690        +BUS. TAX COLLECTIONS-C/O KY STATE TREAS.,      PO BOX 491,    FRANKFORT, KY 40602-0491
6875573        +BUTLER SNOW LLP,    150 3RD AVENUE SOUTH SUITE 1600,     NASHVILLE, TN 37201-2046
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6875809        +CADS, ATTN: PATRICIAN HANNA,     1317 SUN VALLEY ROAD,     CLARKSVILLE, TN 37040-4372
6875639        +CAINE & WEINER C/O PITNEY BOWES PURCHASE,      21210 ERWIN STREET,    WOODLAND HILLS, CA 91367-3714
6875563        +CAM REALTY, LLC C/O REALTY GROUP NORTH,      109 MONTGOMERY AVENUE SUITE 102,
                 SCARSDALE, NY 10583-5531
6895804         CAMPBELL, HIGHTOWER C/O NOVARTIS,     4645 SOUTH LAKESHORE DRIVE #11,     TEMPE, AZ 85282-7152
6875626         CAMPBELL, HIGHTOWER, & ADAMS C/O NOVARTIS,      4645 SOUTH LAKESHORE DRIVE #11,
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6875552        +CAPSTONE PEDIATRICS, PLLC,     1420 DONELSON PIKE, SUITE B-17,     NASHVILLE, TN 37217-3015
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6881360        +CASH CITY,    1640 HIGHWAY 46 SOUTH,    Dickson, TN 37055-2748
6875713        +CDE LIGHTBAND,    2021 WILMA RUDOLPH BLVD., P.O.BOX 31509,      CLARKSVILLE, TN 37040-0026
6875556        +CDS BUSINESS SERVICES,    60 HEMPSTEAD AVE,     WEST HEMPSTEAD NY 11552-2148
6896059        +CDS BUSINESS SERVICES, INC.,     1981 MARCUS AVE, SUITE 130,     LAKE SUCCESS, NY 11042-1046
6875634        +CENTENNIAL MEDICAL STAFF ASSOC.,     P. O. BOX 150804,     NASHVILLE, TN 37215-0804
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6875709        +CHAPTER 13 TRUSTEE,    P. O. BOX 340019,     NASHVILLE, TN 37203-0019
6875628        +CHIRON FINANCIAL, LLC,    1301 MCKINNEY SUITE 2800,     HOUSTON, TX 77010-3079
6875767        +CHRISTIAN CARE MINISTRY,     PO BOX 120099,    WEST MELBOURNE, FL 32912-0099
6875749        +CHRISTINA PAASCHE,    3119 HOLLY POINT,     CLARKSVILLE TN 37043-8440
6887568        +CIGNA HEALTH AND LIFE INSURANCE COMPANY,      MARYLOU KILIAN RICE,    COMPLIANCE SPECIALIST,
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6875570         CIGNA HEALTHCARE,    P. O. BOX 644546,    PITTSBURGH, PA 15264-4546
6875858         CIGNA HEALTHCARE & LIFE INSURANCE CO.,      P. O. BOX 182223,    CHATTANOOGA, TN 37422-7223
6895972        +CITY OF CLARKSVILLE,    ONE PUBLIC SQUARE, STE 119,     CLARKSVILLE, TN 37040-3463
6875794         CITY OF CLARKSVILLE,    P. O. BOX 928,    CLARKSVILLE, TN 37041-0928
6875780        +CITY OF LEBANON,    401 PARK DR.,    LEBANON, TN 37087
6895958        +CITY OF LEBANON,    200 N. CASTLE HEIGHTS AVE N., SUITE 117,      LEBANON, TN 37087-2772
6875862         CLARKSVILLE DEPT OF ELECTRICITY,     PO BOX 31449,    CLARKSVILLE, TN 37040-0025
6896060        +CLEAN IT SUPPLY,    2212 DEARBORN DR.,    NASHVILLE, TN 37214-1911
6875683        +CLIA LABORATORY PROGRAM,     P.O. BOX 530882,    ATLANTA, GA 30353-0882
6896061         CLIA LABORATORY PROGRAM,     P.O. BOX 3056,    PORTLAND, OR 97208-3056
6875627         COMCAST,    P. O. BOX 37601,    PHILADELPHIA, PA 19101-0601
6875661        +COMMERCIAL LAMINATION,    2801 MURFREESBORO ROAD,     ANTIOCH, TN 37013-2011
6875863        +COMMISSIONER OF FINANCE R. SPRINGER,      200 CASTLE HEIGHTS AVENUE N,     LEBANON, TN 37087-2740
6875631         COMPANION LIFE INS CO,    ATTN: JESSICA FOURNIER, P.O. BOX 100102,      COLUMBIA, SC 29202-3102
6896062         CONCENTRA,    P.O. BOX 82432,    ATLANTA, GA 30354-0432
6875775        +COOK’S PEST CONTROL,    P.O. BOX 280390,     NASHVILLE, TN 37228-0390
6875587        +CORPORATE CLEANING SYSTEMS,     P. O. BOX 40565,    NASHVILLE, TN 37204-0565
6875867        +CRYSTAL VANN,    1444 PRIMM ROAD,    ASHLAND CITY, TN 37015-6254
6875701        +CUBESMART,    1202 ANTIOCH PIKE,    NASHVILLE, TN 37211-3104
6896064        +CUBESMART,    1058 MURFREESBORO RD.,    NASHVILLE, TN 37217-1513
6875762         CURTIS BAY ENERGY - TN,    P. O. BOX 65047,     BALTIMORE, TN 21264-5047
6896065        +CUSHMAN & WAKEFIELD/HCA,     P.O. BOX 281166,    ATLANTA, GA 30384-1166
6875714         D & L DISTRIBUTORS, INC.,     P.O. BOX 993,    BRENTWOOD, TN 37024-0993
6875753        +DAY COMMUNICATIONS, INC.,     3212 WEST END AVENUE, SUITE 201,     NASHVILLE, TN 37203-5835
6875778        +DCA PHARMACY,    233 BEDFORD WAY,    FRANKLIN, TN 37064-5527
6875720        +DEA HEADQUARTERS,    ATTN: REG. SECTION, P. O. BOX 2639,      SPRINGFIELD, VA 22152-0639
6875827        +DEIDRA MCCULLOUGH,    106 ARCHWOOD DRIVE,     MADISON, TN 37115-3062
6875664         DELTACOM C/O EARTHLINK,    1058 PO BOX 2252,     BIRMINGHAM, AL 35246-1058
6875849        +DIANNE WALDRON TREASURER,     C/O TOWN OF SMYRNA, 315 S. LOWRY STREET,     SMYRNA, TN 37167-3416
6875815        +DONEQUA LYONS,    3424 ELIZABETH JORDAN ST,     NASHVILLE, TN 37209-3842
6875719        +DONNA HAMACHER,    7409 SOMERSET PL,    NASHVILLE, TN 37221-4612
6875555        +DR. EDDIE D. HAMILTON,    4822 POST ROAD,     NASHVILLE, TN 37205-2712
6875797        +EATHERLY SERVICES,    1670 CAIRO BEND ROAD,     LEBANON, TN 37087-7429
6875649        +ECHO, INC.,    101 WESTPARK DRIVE SUITE 140,     BRENTWOOD, TN 37027-5031
6875652        +ECHO, INC. C/O SY.MED DEVELOPMENT, INC.,      101 WESTPARK DRIVE SUITE 140,
                 BRENTWOOD, TN 37027-5031
6875820        +EMELINA QUINONES,    3042 ACE WINTER MEYER DRIVE,     LAVERGNE, TN 37086-3472
6875784         EMMA, INC.,    75 REMITTANCE DRIVE, SUITE 6222,     CHICAGO, IL 60675-6222
6896097        +EQUINOX COMMUNICATIONS,    P.O. BOX 2607,     BRENTWOOD, TN 37024-2607
6875721         ERICA OMONDI,    8741 BARREN FORK,    BON AQUA, TN 37025
6875837         ERIKA MONTEZ,    6675 HICKORY SPRINGS DR,     SAN ANTONIO TX 78249
6875773       #+ESTALEE DUNCAN,    216 LUCKY DR,    NASHVILLE, TN 37211-4905
6875577        +FAIRWAY - GALT, LLC,    728 SHADES CREEK PKY, SUITE 200,      BIRMINGHAM, AL 35209-4453
6875741         FAMILIES MAGAZINE,    P. O. BOX 729,    HOPKINSVILLE, KY 42241-0729
6875835        +FIRE SAFETY EQUIPMENT & SERVICE,     4099 BERNARD RD.,     JOELTON, TN 37080-8932
6875672         FLEXENTIAL F/K/A PEAK 10,     P.O. BOX 536933,    ATLANTA, GA 30353-6933
6875792         FOUR PLUS CORPORATION C/O 511 GROUP,     1850 NASHVILLE CITY CENTER,
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6875806         FRANKLIN COLLECTION SERVICE, INC.,     P. O. BOX 3910,     TUPELO, MS 38803-3910
6896068        +FREELAND REALTY 4 LLC,    5333 HICKORY HOLLOW PKWY,     ANTIOCH, TN 37013-3109
6893827        +Fairway-Galt, LLC,    c/o Sean C. Kirk, Bone McAllester Norton,      511 Union St., Suite 1600,
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6875842        +GERRI WHITE,    2212 DEARBORN DR,    NASHVILLE, TN 37214-1911
6875594         GLAXOSMITHKLINE PHARMACEUTICALS,     P. O. BOX 740415,    ATLANTA, GA 30374-0415
6875805        +GLOVER’S LOCK SERVICE,     514 KRAFT STREET,    CLARKSVILLE, TN 37040-3055
6875698         GN OTOMETRICS NORTH AMERICA,     P. O. BOX 200980,    PITTSBURGH, PA 15251-0980
6896069        +GO FISH,    6297 N NEW HOPE RD,    HERMITAGE, TN 37076-2624
6875860         GREENSBORO SERVICE CENTER,     P. O. BOX 740800,    ATLANTA, GA 30374-0800
6896071         GUARDIAN,    P.O. BOX 677458,    DALLAS, TX 75267-7458
6875747        +H & H HEATING, AIR, & REFRIGERATION,      2547 MADISON STREET,    CLARKSVILLE, TN 37043-5499
6875768        +H & J REALTY,    8138 MOORES LANE,    BRENTWOOD, TN 37027-8026
6875644        +HAMILTON PAINTING,    1204 MURFREESBORO ROAD,     LEBANON, TN 37090-5301
6875665        +HARPETH ANSWERING & COMMUNICATIONS,     506 HILLSBORO BOULEVARD SUITE 106,
                 MANCHESTER, TN 37355-1975
6875622        +HARRIS BRAND RECRUITING,     3100 ROSENDALE ROAD,    NISKAYUNA, NY 12309-1510
6896073        +HARRIS FAMILY PHARMACY,     1157 FORT CAMPBELL BLVD,    CLARKSVILLE, TN 37042-6426
6875851        +HARRIS, KLEIN ASSOCIATES, INC.,     P. O. BOX 2087,    WOODSTOCK, GA 30188-1398
6875757        +HARRISON’S LOCK SERVICE,     307 WEST MAIN STREET, SUITE H,     LEBANON, TN 37087-3596
6875571        +HARTMANN CENTRAL, LLC,     1418 PALMER ROAD,    LEBANON, TN 37090-8202
6875764        +HEALTH MEGA MALL,    336 36TH ST,    BELLINGHAM WA 98225-6580
6875818         HEALTHAMERICA PA - REFUNDS,     P. O. BOX 8500-784182,    PHILADELPHIA, PA 19178-4182
6875873        +HEALTHSCOPE BENEFITS,     27 CORPORATE HILL DRIVE,    LITTLE ROCK, AR 72205-4537
6875588        +HEARTHSTONE PROPERTIES, LLC,     4925 VETERANS PARKWAY,     MURFREESBORO, TN 37128-3961
6875611         HENRY SCHEIN,    DEPT CH 10241,    PALATINE, IL 60055-0241
6875798        +HICKS HVAC,    991 BRILEY PARKWAY,    NASHVILLE, TN 37217-1901
6875825        +HOLLY MILLER,    317 50TH AVENUE NORTH,     NASHVILLE, TN 37209-3457
6875734         HUMANA,   P. O. BOX 931655,     ATLANTA, GA 31193-1655
6875861        +ICG LINK, INC.,    7003 CHADWICK DRIVE, SUITE 111,     BRENTWOOD, TN 37027-5288
6875617        +INETCO, LLC,    190B SAUNDERSVILLE ROAD,     HENDERSONVILLE, TN 37075-8901
6875677        +INFINISOURCE, ATTN: STACEY BOYD,     15 E WASHINGTON STREET,     COLDWATER, MI 49036-1981
6875759         JENNIFER MOJICA,    400 TOLL HOUSE CIRCLE,     FRANKLIN TN 37064
6875859        +JENNIFER WATSON,    143 HENDON MEMORIAL RD,     SHELBYVILLE, TN 37160-3150
6875831        +JERRY GILTZ,    1000 WORTHINGTON LANE, APT 10-207,     SPRING HILL, TN 37174-4100
6875737        +JEWELL MECHANICAL,    1000 ELM HILL PIKE,     NASHVILLE, TN 37210-3504
6875802         JIHAN SHUKRI,    360 BELL ROAD, APT 303,     ANTIOCH, TN 37013
6875722        +JONATHAN SPANIER, MD,     1032 GRACELAWN DR,    BRENTWOOD TN 37027-5504
6875816        +JUNE D. BRYANT,    4004 SOUTHRIDGE BLVD,     MURFREESBORO TN 37128-6854
6875727        +KACIE WILKES,    2521 ARBOR MIST TRAIL,     HIXON, TN 37343-4538
6875774       #+KAREN BLOUNT,    5582 B ZAPATA DRIVE,     PEGRAM, TN 37143-2300
6875723        +KAREN CHAFFIN,    5909 SEDBERRY ROAD,     NASHVILLE, TN 37205-3221
6875846        +KATHLEEN WEAKLEY,    1928 STREAMFIELD COURT,     ANTIOCH, TN 37013-5753
6875580        +KATHY S. GRIFFIETH,    9045 KEATS STREET,     FRANKLIN, TN 37064-3162
6895868        +KENTUCKY STATE TREASURER,     501 HIGH ST., P.O. BOX 491,     FRANKFORT, KY 40601-2103
6875800        +KHALID ABDULKHALIG,    114 GARDENIA STREET,     MT. PLEASANT, TN 38474-1803
6875675         LABCORP,    PO BOX 12140,    BURLINGTON, NC 27216-2140
6875823        +LABPLUS,    PO BOX 504975,    ST.LOUIS MO 63150-4975
6875744        +LAMONT, HANLEY, & ASSOCIATES, INC.,     P. O. BOX 179,    MANCHESTER, NH 03105-0179
6875730         LBMC, PC,    P. O. BOX 1869,    BRENTWOOD, TN 37024-1869
6896067        +LEAP SOLUTIONS,    213 W MAPLEWOOD LN, STE 350,     NASHVILLE, TN 37207-2992
6875857        +LEIGHANN BRINKLEY,    901 NORTHERN DANCE LANE,     ELGIN, SC 29045-7127
6875836        +LESLIE KOMULAINEN,    229 CEDAR BEND CIRCLE,     CLARKSVILLE TN 37043-1881
6875724        +LINDSEY HERNANDEZ,    1108 PROUD EAGLE,     EAGLEVILLE, TN 37060-4261
6896076        +LONGWELL CLEANING SERVICES,     2274 HIGH MEADOW DRIVE,     MURFREESBORO, TN 37129-4029
6875725         LUCY MARTIN,    710 CLEO MARTIN DR, APT 340,     NASHVILLE TN 37206
6875585        +M AND S HOLDINGS LLC,     1511 SUNSET RD,    BRENTWOOD, TN 37027-3511
6875702         MAILFINANCE, INC,    DEPT 3682, PO BOX 123682,     DALLAS, TX 75312-3682
6875697         MAIN STREET MEDIA OF TN,     GOULD ENTERPRISES INC., P. O. BOX 8156,     GALLATIN, TN 37066-8156
6875748        +MAINE STANDARDS CO., LLC,     221 US ROUTE 1,    CUMBERLAND FORESIDE, ME 04110-1345
6875772        +MAISAM ALKHAFAJI,    109 SHATKLATT LANE COURT,     ANTIOCH, TN 37013-3628
6895886        +MARY RUTH SCOBEY MD,    344 TIMBERDALE CT.,     NASHVILLE, TN 37211-5157
6875708         MARY RUTH SCOBEY, MD,     504 ENGLISH VILLAGE DR,    NASHVILLE TN 37211
6875625        +MBLAB CONSULTING,    1106 GETTYSVUE WAY,     KNOXVILLE, TN 37922-5982
6875566        +MCCURRY CONSTRUCTION, LLC,     2207 SAINT JOSEPH’S COURT,     BRENTWOOD, TN 37027-1806
6875557         MCKESSON CORPORATION,     P. O. BOX 634404,    CINCINNATI, OH 45263-4404
6875567         MCKESSON MEDICAL SURGICAL,     P. O. BOX 634404,    CINCINNATI, OH 45263-4404
6875620       ++MEDLINE INDUSTRIES INC,     ATTN ANNE KISHA,    ONE MEDLINE PL,    MUNDELEIN IL 60060-4486
               (address filed with court: MEDLINE INDUSTRIES, INC.,       DEPT CH 14400,    PALATINE, IL 60055)
6896077        +MEDSAFE TOTAL COMPLIANCE SOLUTIONS, INC.,      27 MICA LANE, SUITE 208,
                 WELLESLEY HILLS, MA 02481-1741
6875807        +MEGAN THOMAS,    1606 SAMUEL DR,    CLARKSVILLE TN 37043-1738
6875560         MERCK SHARP & DOHME, CORP.,     P. O. BOX 5254,    CAROL STREAM, IL 60197-5254
6875593        +MERIDIAN LAW, PLLC,    2900 VANDERBILT PLACE, SUITE 100,      NASHVILLE, TN 37212-2518
6875616         METRO TRUSTEE PERSONALTY TAX DEPT,     P. O. BOX 305012,     NASHVILLE, TN 37230-5012
6896078         METROPOLITAN TRUSTEE,     P.O. BOX 196300,    NASHVILLE, TN 37219-6300
6875872        +MHBP FEDERAL EMPLOYEES HEALTH BENEFITS,      P. O. BOX 8402,    LONDON, KY 40742-8402
6875847        +MICRO AUDIOMETRICS CORP.,     655 KELLER ROAD,    MURPHY, NC 28906-5890
6875752        +MID-STATE COMMUNICATIONS,     504 HILLSBORO BLVD,    MANCHESTER, TN 37355-1767
6875679         MIDDLE TN ELECTRIC MEMBERSHIP CORP,     PO BOX 220,    LEBANON, TN 37088-0220
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                              Form ID: hrgnot              Total Noticed: 364


6875592        +MOB 147 OF TN C/O HOLLADAY - SKYLINE,     P. O. BOX 404485,     ATLANTA, GA 30384-4485
6875579        +MOB 147 OF TN C/O HOLLADAY PROPERTIES,     P. O. BOX 404485,     ATLANTA, GA 30384-4485
6875706        +MODERN BABIES AND CHILDREN NASHVILLE,     1050 GLENBROOK WAY SUITE 480-145,
                 HENDERSONVILLE, TN 37075-1241
6894147         Metropolitan Government--Nashville & Davidson Co.,      Post Office Box 196300,
                 Nashville, TN 37219-6300
6875739        +NASHVILLE AREA HISPANIC CHAMBER OF COM.,      P. O. BOX 40541,    NASHVILLE, TN 37204-0541
6875640         NASHVILLE ELECTRIC SERVICE,     1214 CHURCH STREET,    NASHVILLE, TN 37246-0003
6895907        +NASHVILLE, TN 37219,    CORPORATE CLEANING SYSTEMS,     P. O. BOX 40565,
                 NASHVILLE, TN 37204-0565
6875674        +NATUS MEDICAL, INC.,    DEPT. 33768, P. O. BOX 39000,     SAN FRANCISCO, CA 94139-0001
6875671        +NAVICURE, INC.,    2055 SUGARLOAF CIRCLE SUITE 600,     DULUTH, GA 30097-4131
6875781         NEOFUNDS BY NEOPOST,    P. O. BOX 30193,    TAMPA, FL 33630-3193
6875554        +NEWTEK SMALL BUSINESS FINANCE LLC,     P. O. BOX 297,    LAUREL, NY 11948-0297
6875623        +NEWTEK TECHNOLOGY SERVICES,     2550 W UNION HILLS DRIVE SUITE 390,     PHOENIX, AZ 85027-5197
6875559        +NEXTGEN HEALTHCARE C/O QUALITY SYSTEMS,     P. O. BOX 809390,     CHICAGO, IL 60680-9390
6895971         NIC USA, INC. TN DIV C/O TN ANYTIME,     P. O. BOX 504212,     ST. LOUIS, MO 63150-4212
6875793         NIC USA, INC. TN DIVISION C/O TN ANYTIME,      P. O. BOX 504212,    ST. LOUIS, MO 63150-4212
6875597        +NOVACOPY, INC.,    P. O. BOX 372, DEPT 200,     MEMPHIS, TN 38101-0372
6875565        +NOVAGEN,    10245 WEST LITTLE YORK RD. SUITE 400,     HOUSTON TX 77040-2937
6896079         NOVARTIS VACCINES & DIAGNOSTICS INC.,     4645 S. LAKESHORE DRIVE #11,     TEMPE, AZ 85282-7152
6875599        +NTL CONTACT CTR MGMT, ATTN: C. BENNETT,       2501 PARK PLAZA BLDG 1-4W,
                 NASHVILLE, TN 37203-1512
6875750         OAKTREE PRODUCTS, INC.,    610 SPIRIT VALLEY,     EAST CHESTERFIELD, MO 63005
6875745         OCCUPATIONAL HEALTH CTRS OF THE SW, P.A.,      CO. C/O CONCENTRA, P. O. BOX 82432,
                 ATLANTA, GA 30354-0432
6875766         OFFICE DEPOT, INC.,    P. O. BOX 633301,    CINCINNATI, OH 45263-3301
6896080         OTOMETRICS,    P.O. BOX 200980,    PITTSBURGH, PA 15251-0980
6875838        +PAULETTE POE,    402 FABIAN PLACE,    CLARKSVILLE, TN 37043-5941
6875696         PAYMENT RESOLUTION SERVICES,     ATTN: MSC 410836, P. O. BOX 415000,     NASHVILLE, TN 37241-0836
6896081         PEAK 10, INC.,    P.O. BOX 536933,    ATLANTA, GA 30353-6933
6875682        +PEDSTEST.COM,    1013 AUSTIN COURT,    NOLENSVILLE, TN 37135-9737
6875771        +PERFORMANCE BUSINESS FORMS,     200 BLANTON AVENUE,    NASHVILLE, TN 37210-4704
6896082        +PERRY CARLSON,    5091 PINE HILL RD,    NASHVILLE, TN 37221-5015
6875569         PFIZER INC,    P.O. BOX 100539,    ATLANTA, GA 30384-0539
6875743         PGBA, LLC - TRICARE REFUNDS,     P. O. BOX 100279,    COLUMBIA, SC 29202-3279
6895997         PHILADELPHIA, PA 19178-4182,     AETNA INSURANCE COMPANY,    P. O. BOX 784836,
                 PHILADELPHIA, PA 19178-4836
6875669        #PIEDMONT NATURAL GAS,    P. O. BOX 660920,     DALLAS, TX 75266-0920
6875610        +PINNACLE SERVICES, INC.,    2817 WEST END AVENUE, SUITE 126-384,      NASHVILLE, TN 37203-1453
6875629        +PITNEY BOWES,    PO BOX 371874,    PITTSBURGH, PA 15250-7874
6896083        +PITNEY BOWES PURCHASE POWER,     21210 ERWIN ST,    WOODLAND HILLS, CA 91367-3714
6875589        +PRACTICE SUITE, INC.,    P.O. BOX 15124,    FREMONT, CA 94539-2224
6875663        +PRACTIECLINK LIMITED,    PO BOX 100,    HINTON, WV 25951-0100
6875728       #+PREMIER PARKING,    421 CHURCH STREET,    NASHVILLE, TN 37219-2501
6875645        +PRIORITY NASHVILLE CONTRACTING, LLC,     P. O. BOX 41830,    NASHVILLE, TN 37204-1830
6875731         PROASSURANCE CO RISK RESOURCE DEPT,     P. O. BOX 809196,    CHICAGO, IL 60680-9196
6875600         PROASSURANCE INDEMNITY COMPANY, INC.,     P. O. BOX 952315,     DALLAS, TX 75395-2315
6875826       #+PROIMAGE FACILITY SERVICES, LLC,     15115 OLD HICKORY BOULEVARD, SUITE B,
                 NASHVILLE, TN 37211-6585
6875606        +PROP. MGMT ASSOC. OF WNY, ATTN: L. STANG,      90 EARHART DR SUITE 6,
                 WILLIAMSVILLE, NY 14221-7802
6895947        +PROSAD KONA,    522 AVENTURA DR.,    MOUNT JULIET, TN 37122-6429
6875769         PROSAD KONA,    22 AVENTURA DRIVE,    MOUNT JULIET, TN 37122
6884418        +Paddock TN Equities, LLC,     c/o Seth M. McInteer,    McInteer & O’Rear PLC,    2801 12th Ave. S.,
                 Nashville, TN 37204-2507
6875678        +RAY & CHRISTINE FOCHLER,    1765 HIGHWAY 25 WEST,     GALLATIN, TN 37066-6112
6875662        +REAL TIME TRANSLATION, INC,     716 COUNTY RD 10 NE #174,    BLAINE MN 55434-2331
6875618        +REC. MGMT SERVICES, C/O STAPLES ADVANTAGE,      7525 WEST CAMPUS RD,    NEW ALBANY, OH 43054-1121
6896085        +RECALL TOTAL INFORMATION MANAGEMENT,     015295 COLLECTIONS CENTER DR,     CHICAGO, IL 60693-0001
6875830        +REGINALD KING,    P. O. BOX 150214,    NASHVILLE, TN 37215-0214
6875670        +REVIVE HEALTH,    209 10TH AVENUE SOUTH SUITE 214,     NASHVILLE, TN 37203-0711
6896086        +RICHARDS & RICHARDS,    P.O. BOX 17070,    NASHVILLE, TN 37217-0070
6875776        +ROBBIE RODGERS,    406 2ND AVE,    MURFREESBORO TN 37130-4800
6875726        +RODERICK BAHNER,    P.O. BOX 2191,    BRENTWOOD, TN 37024-2191
6875756        +RUTHERFORD COUNTY TRUSTEE,     P.O. BOX 1316,    MURFREESBORO, TN 37133-1316
6875601        +SAFE CLEAN,    164 MCCALL ST,    NASHVILLE TN 37211-3089
6875839        +SAFEPOINT, LLC,    1214 HUNTERS POINT PIKE, SUITE A,     LEBANON, TN 37087-1100
6875561        +SANOFI PASTEUR, INC.,    12458 COLLECTIONS CENTER DR.,     CHICAGO, IL. 60693-0001
6875869        +SCHATONEA NEWBY,    255 CATHY JO DR,    NASHVILLE, TN 37211-3814
6875598        #SCOTTY W. HARRIS,    281 HICKORY HOLLOW TERRACE,     ANTIOCH, TN 37013-2127
6875789       #+SHAMEKIA CLINTON,    1052 E MONICA DR,    CLARKSVILLE TN 37042-6712
6875832         SHANTANIK GREEN,    932 OAK MEADOW,    FRANKLIN TN 37064
6875811        +SHONTA STEWART,    606 FAIRGROUNDS CT,    LEBANON, TN 37087-2274
6875635         SHORETEL INC. A/K/A MITEL,     4921 SOLUTION CENTER,    CHICAGO, IL 60677-4009
6875812        +SHRED ON THE RUN,    5904 ROBERTSON AVENUE,     NASHVILLE, TN 37209-1853
6875638         SHRED-IT USA,    P. O. BOX 13574,    NEW YORK, NY 10087-3574
6875624        +SITEX CORPORATION,    P. O. BOX 38,    HENDERSON, KY 42419-0038
6875574       #+SL MANAGEMENT GROUP TN LLC,     788 MORRIS TURNPIKE,    SHORT HILLS, NJ 07078-2634
6875829        +SLADJA MILEDIC,    845 WINDSOR GREEN BLVD,     GOODLETTSVILLE, TN 37072-2124
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                              Form ID: hrgnot              Total Noticed: 364


6875691        +SMILEMAKERS,    P. O. BOX 2543,    SPARTANBURG, SC 29304-2543
6875608        +SMYRNA MOB, LLC C/O THE STANTON GROUP,      P. O. BOX 993,    BRENTWOOD, TN 37024-0993
6875605         SNH MED. OFFICE PROPS. TRUST C/O REIT,      DEPT 1600 P. O. BOX 538601,    ATLANTA, GA 30353-8601
6875864        +SPRING HILL CITY HALL,     P. O. BOX 789,    SPRING HILL, TN 37174-0789
6875754        +ST. THOMAS HEALTH MEDIAL AFFAIRS,     P. O. BOX 380,    NASHVILLE, TN 37202-0380
6896087        +ST. THOMAS MEDICAL STAFF FUND,     4220 HARDING ROAD,     NASHVILLE, TN 37205-2005
6875630        +ST. THOMAS RUTHERFORD, ATTN: STR FINANCE,      501 GREAT CIRCLE ROAD SUITE 300,
                 NASHVILLE, TN 37228-1332
6896088        +STAPLES ADVANTAGE,    7525 W. CAMPUS RD.,     NEW ALBANY, OH 43054-1121
6875641        +STEPHEN A. TISDELL C/O TISDELL ASSOC.,      1600 ROSEWOOD COURT,    BRENTWOOD, TN 37027-7954
6875590        +STERICYCLE, INC., ATTN: SUE HARDER,     4010 COMMERCIAL AVE,     NORTHBROOK, IL 60062-1829
6896090        +STORAGE SOLUTIONS,    2876 OLD FORT PARKWAY,     MURFREESBORO, TN 37128-4157
6875718        +STORPLACE OF MEDICAL CENTER NASHVILLE,      1615 CHARLOTTE AVE,    NASHVILLE, TN 37203-2906
6875751         TAMER EL-MAHDY,    309 NW 18TH STREET, APT 907,     ANKENY, IA 50023-4267
6875810        +TEN TIMES BETTER CORPORATION,     923 OLDHAM DRIVE #851,     NOLENSVILLE, TN 37135-7517
6896092         TENNESSEE ANYTIME,    NIC USA INC., P.O. BOX 504212,      ST. LOUIS, MO 63150-4212
6875572        +TENNESSEE DEPT OF REVENUE,     500 DEADRICK ST,    NASVHILLE, TN 37242-0002
6875705        +TENNESSEE FOREIGN LANGUAGE INST.,     220 FRENCH LANDING DRIVE SUITE 1-B,
                 NASHVILLE, TN 37243-1002
6875746        +TENNESSEE FOREIGN LANGUAGE INSTITUTE,      220 FRENCH LANDING DRIVE SUITE 1-B,
                 NASHVILLE, TN 37243-1002
6896093        +TENNESSEE MECHANICAL CORP.,     TMC 101 GENERAL FORREST COURT,     SMYRNA, TN 37167-4273
6875633         THE CSI COMPANIES, INC.,     P. O. BOX 890841,    CHARLOTTE, NC 28289-0841
6875667         THE MATHEWS COMPANY,    P. O. BOX 22149,     NASHVILLE, TN 37202-2149
6875707        +THE STANTON GROUP,    P. O. BOX 993,    BRENTWOOD, TN 37024-0993
6875735        +THE TONER DOCTOR,    PO BOX 94,    MADAWASKA, ME 04756-0094
6875591         THERACOM, LLC,    P. O. BOX 640105,    CINCINNATI, OH 45264-0105
6875779         TIM JURISIN PLUMBING, INC.,     P. O. BOX 3564,    CLARKSVILLE, TN 37043-3564
6896094       #+TINA MANSHADI,    2600 HILLSBORO PK, UNIT 132,     NASHVILLE, TN 37212-5634
6875817        +TMC,   101 GENERAL FORREST COURT,     SMYRNA, TN 37167-4273
6875602        +TN DEPT OF LABOR & WORKFORCE,     220 FRENCH LANDING DR,     NASHVILLE, TN 37243-1002
6875808        +TONIKA MILAN,    110 E ST,    CLARKSVILLE TN 37042-4360
6895782        +TOTAL COMPLIANCE SOLUTIONS, INC.,     27 MICA LANE SUITE 208,     WELLESLEY, MA 02481-1741
6875604        +TOTAL COMPLIANCE SOLUTIONS, INC. C/O MEDSAFE,      27 MICA LANE SUITE 208,
                 WELLESLEY, MA 02481-1741
6875703        +TRACY CARTER,    2503 ANGELYN DR,    MURFREESBORO, TN 37129-4045
6875711        +TRAVIS CROOK, MD,    1204 JEWELL AVE,     FRANKLIN, TN 37064-5067
6875680         TRIAGE LOGIC, LLC,    P. O. BOX 79426,     BALTIMORE, MD 21279-0426
6875736         TW TELECOM,    P. O. BOX 172567,    DENVER, CO 80217-2567
6875655        +TWO MEN AND A TRUCK,    4801 ALABAMA AVENUE,     NASHVILLE, TN 37209-3448
6889522        +Tennessee Department of Revenue,     c/o Attorney General,     PO Box 20207,
                 Nashville, TN 37202-4015
6875684         UNITED HEALTHCARE,    ATTN: RECOVERY SERVICES, P.O. BOX 740804,      ATLANTA, GA 30374-0804
6875576         UNITED HEALTHCARE INSURANCE CO DEPT. CH,      10151 PALATINE, IL 60055-0151
6895862         UNITED HEALTHCARE RECOVERY SERVICES,      P.O. BOX 101760,    ATLANTA, GA 30392-1760
6875791         UNITED HEALTHCARE, ATTN: CLAIM REFUND,      P. O. 209011,    DALLAS, TX 75320-9011
6875568         UNITED STATES TRUSTEE,     P.O. BOX 530202,    ATLANTA, GA 30353-0202
6875614        +UP TO DATE,    230 THIRD AVE,    WALTHAM, MA 02451-7560
6875833        +US HEALTHWORKS,    P. O. BOX 741827,    ATLANTA, GA 30374-1827
6875654         VANDERBILT UNIVERSITY MED CTR,     DEPT OF FINANCE, DEPT AT 40303,     ATLANTA, GA 31192-0303
6875643        +VANI VEERA, MD,    1801 MORGAN FARMS WAY,     BRENTWOOD TN 37027-1422
6875799         VANKAT K REDDY, MD,    P. O. BOX 331034,     NASHVILLE, TN 37203-7508
6875651         VAXSERVE, INC.,    54 GLENMAURA NATIONAL BLVD. STE 301,      MOOSIC, PA 18507-2101
6875564        +VIII FS-NASHVILLE, LLC C/O CTCRES,     4678 WORLD PARKWAY CIRCLE,     ST. LOUIS, MO 63134-3114
6875850        +VIRGINIA O’CONNELL,    705 VANVIEW DR, APT. A,     LEBANON TN 37087-4588
6875615        +VOLUNTEER WELDING SUPPLY, INC.,     815 5TH AVENUE SOUTH,     NASHVILLE, TN 37203-4609
6896096        +WALGREENS,    1419 LAKE COOK RD., MS #L390,     DEERFIELD, IL 60015-5614
6875712         WASTE MANAGEMENT OF NASHVILLE HAULING,      PO BOX 9001054,    LOUISVILLE, KY 40290-1054
6875687        +WEIGHT LOSS & WELLNESS SERVICES, LLC,      2801 S MACDILL AVE,    TAMPA, FL 33629-7223
6875785        +WELCH ALLYN, INC. CREDIT DEPARTMENT,      4341 STATE STREET ROAD,
                 SKANEATELES FALLS, NY 13153-5300
6875650         WESTGUARD INSURANCE COMPANY,     P. O. BOX 785570,    PHILADELPHIA, PA 19178-5570
6875586        +WHITE & REASOR,    3100 WEST END AVE SUITE 1100,     NASHVILLE, TN 37203-1348
6875738        +WILLIAMSON MED CTR MED. STAFF SERVICES,      4321 CAROTHERS PARKWAY,    FRANKLIN, TN 37067-8542
6875786        +WILSON COUNTY TRUSTEE, JIM MAJOR,     P. O. BOX 865,    LEBANON, TN 37088-0865
6875578         WINDROSE 310 C/O HEALTHCARE PROP. MGRS,      DEPT 730034 , P. O. BOX 660919,
                 DALLAS, TX 75266-0919
6875865         WINDSTREAM COMMUNICATIONS,     P.O. BOX 9001950,    LOUISVILLE, KY 40290-1950
6875562        +WINNIE TOLER,    1221 KILRUSH DR,    FRANKLIN TN 37069-4198

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust             E-mail/Text: ustpregion08.na.ecf@usdoj.gov Apr 25 2019 01:16:18      US TRUSTEE,
                 OFFICE OF THE UNITED STATES TRUSTEE,   701 BROADWAY STE 318,    NASHVILLE, TN 37203-3966
6875676         E-mail/Text: AccountsReceivable@api-pt.com Apr 25 2019 01:16:38
                 AMERICAN PROFICIENCY INSTITUTE,   DEPARTMENT 9526, P. O. BOX 30516,    LANSING, MI 48909-8016
6896054         E-mail/Text: g17768@att.com Apr 25 2019 01:16:05     AT&T,    P.O. BOX 105068,
                 ATLANTA, GA 30348-5068
6875612         E-mail/Text: dl-csgbankruptcy@charter.com Apr 25 2019 01:16:52      CHARTER COMMUNICATIONS,
                 P. O. BOX 9001934,   LOUISVILLE, KY 40290-1934

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District/off: 0650-3          User: las9975                Page 6 of 12                  Date Rcvd: Apr 24, 2019
                              Form ID: hrgnot              Total Noticed: 364


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(continued)
6875613         E-mail/Text: citjaxbankruptcy@cit.com Apr 25 2019 01:16:06       CIT,   21146 NETWORK PLACE,
                 CHICAGO, IL 60673-1211
6875874        +E-mail/Text: gframe@cityofmtjuliet.org Apr 25 2019 01:16:32       CITY OF MOUNT JULIET,
                 2425 NORTH MT. JULIET ROAD,    MOUNT JULIET, TN 37122-3038
6896052        +E-mail/Text: gframe@cityofmtjuliet.org Apr 25 2019 01:16:32       CITY OF MT. JULIET,
                 2425 N. MT. JULIET ROAD,    MT. JULIET, TN 37122-3038
6895981        +E-mail/Text: bankruptcycases@murfreesborotn.gov Apr 25 2019 01:16:31       CITY OF MURFREESBORO,
                 111 W. VINE ST., 1ST FLOOR,    MURFREESBORO, TN 37130-3573
6875803         E-mail/Text: bankruptcycases@murfreesborotn.gov Apr 25 2019 01:16:31       CITY OF MURFREESBORO,
                 P.O. BOX 1139,    MURFREESBORO, TN 37133-1139
6875636         E-mail/Text: documentfiling@lciinc.com Apr 25 2019 01:16:02       COMCAST BUSINESS,
                 PO BOX 530098,    ATLANTA, GA 30353-0098
6875699         E-mail/Text: accountsreceivable@happyhiller.com Apr 25 2019 01:16:02       HILLER, LLC,
                 915 MURFREESBORO PIKE,    NASHVILLE TN 37225
6875658        +E-mail/Text: hhoskins@hoskinscpas.com Apr 25 2019 01:16:47       HOSKINS & COMPANY,
                 1900 CHURCH STREET, SUITE 200,    NASHVILLE, TN 37203-2288
6875553         E-mail/Text: cio.bncmail@irs.gov Apr 25 2019 01:16:09       INTERNAL REVENUE SERVICE,
                 P.O. BOX 7346,    PHILADELPHIA, PA 19101-7346
6875732        +E-mail/Text: ipfscollectionsreferrals@ipfs.com Apr 25 2019 01:16:34       IPFS CORPORATION,
                 900 ASHWOOD PARKWAY, SUITE 370,    ATLANTA, GA 30338
6875673        +E-mail/Text: mmiller@mintconditionmail.com Apr 25 2019 01:16:39       MINT CONDITION,
                 101 SE PARKWAY CT SUITE 230,    FRANKLIN, TN 37064-4022
6875755         E-mail/Text: arburkhart@mcgtn.net Apr 25 2019 01:16:28       MONTGOMERY COUNTY TRUSTEE,
                 P. O. BOX 1005,    CLARKSVILLE, TN 37041-1005
6875692         E-mail/Text: jcaskey@medtn.com Apr 25 2019 01:16:16       MURFREESBORO ELECTRIC DEPARTMENT,
                 P.O. BOX 9,    MURFREESBORO, TN 37133-0009
6875648         E-mail/Text: bankruptcy.notice@mutualofomaha.com Apr 25 2019 01:16:30       MUTUAL OF OMAHA,
                 P. O. BOX 2147,    OMAHA, NE 68103-2147
6875595        +E-mail/Text: creditdept@orthoclinicaldiagnostics.com Apr 25 2019 01:16:50
                 ORTHO CLINICAL DIAGNOSTICS,    100 INDIGO CREEK DRIVE,    ROCHESTER, NY 14626-5101
6875844        +E-mail/Text: accounting@precisionroller.com Apr 25 2019 01:16:03       PRECISION ROLLER,
                 2102 W QUAIL AE, SUITE 1,    PHOENIX AZ 85027-2656
6896089         E-mail/Text: home.fss-bankruptcy.934c00@statefarm.com Apr 25 2019 01:16:26
                 STATE FARM INSURANCE COMPANIES,    P.O. BOX 588002,    NORTH METRO, GA 30029-8002
6875583        +E-mail/Text: ted.sanders@tedrsandersmoving.com Apr 25 2019 01:16:48
                 TED R. SANDERS MOVING & WAREHOUSE, INC.,     P. O. BOX 90202,   NASHVILLE, TN 37209-0202
6875619         E-mail/Text: ogclitmail@hanover.com Apr 25 2019 01:16:50       THE HANOVER INSURANCE GROUP,
                 P. O. BOX 580045,    CHARLOTTE, NC 28258-0045
6896095        +E-mail/Text: melissa.scott@townofsmyrna.org Apr 25 2019 01:16:25       TOWN OF SMYRNA,
                 315 S. LOWRY ST.,    SMYRNA, TN 37167-3416
6875609         E-mail/Text: wfmelectronicbankruptcynotifications@verizonwireless.com Apr 25 2019 01:15:59
                 VERIZON WIRELESS,    P. O. BOX 660108,   DALLAS, TX 75266-0108
6875733         E-mail/Text: claims@yosrob.com Apr 25 2019 01:16:01       WILLIAMSON COUNTY TRUSTEE,
                 P. O. BOX 1365,    FRANKLIN, TN 37065-1365
6895911        +E-mail/Text: claims@yosrob.com Apr 25 2019 01:16:00       WILLIAMSON COUNTY TRUSTEE,
                 1320 WEST MAIN STREET, STE 203,    FRANKLIN, TN 37064-3736
                                                                                              TOTAL: 27

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
6881006         AR Global d/b/a ARHC GMCLKTN01, LLC
6895996         HEALTHAMERICA PA - REFUNDS,    P. O. BOX 8500-784182
6895906         PREMIER PARKING,    421 CHURCH STREET
cr*            +Meridian Law, PLLC,    2900 Vanderbilt Place,    Suite 100,    Nashville, TN 37212-2518
6895991*       +123 GETLINK,    1476 LEXINGTON AVE, SUITE 1B,    NEW YORK, NY 10128-2546
6895799*        ABBOTT LABORATORIES INC.,    P.O. BOX 100997,    ATLANTA, GA 30384-0997
6895835*        ACCENT,   P. O. BOX 952366,    ST. LOUIS, MO 63195-2366
6895774*        ACCESS,   P.O. BOX 101048,    ATLANTA, GA 30392-1048
6895837*       +ADVANCE SIGNS & GRAPHICS,    1005 WEST MAIN STREET,    LEBANON, TN 37087-3301
6896031*        AETNA,   P. O. BOX 14079,    LEXINGTON, KY 40512-4079
6895920*        AFTERMATH CLAIM SERVICE,    1212 S NAPER BOULEVARD,    NAPERVILLE, IL 60540-8360
6895973*       +AKHENIA CONERLY,    296 RALEIGH DR, APT. B,    CLARKSVILLE, TN 37043-1971
6895968*       +ALEXANDRIA MILLER,    748 SHELTON CIRCLE,    CLARKSVILLE TN 37042-7108
6896012*       +ALISON HOPKINS,    1346 SWEETWATER DRIVE,    BRENTWOOD, TN 37027-7871
6896044*       +AMANDA BURLISON,    407 ROLLINGWOOD CROSSING,    LEBANON TN 37087-3183
6896034*       +AMANDA GREENE,    3617 HUNTINGBORO TRAIL,    ANTIOCH, TN 37013-4947
6896032*        AMBER SAUNDERS,    4121 SHACKLETT RD,    MURFREESBORO, TN 37129
6895888*        AMERICAN ACADEMY OF PEDIATRICS,    72103 EAGLE WAY,    CHICAGO, IL 60678-7251
6895863*        AMERICAN MESSAGING,    P. O. BOX 5749,    CAROL STREAM, IL 60197-5749
6895867*       +AMERICAN PLUMBING PROFESSIONALS,    P. O. BOX 111542,    NASHVILLE, TN 37222-1542
6895854*        AMERICAN PROFICIENCY INSTITUTE,    DEPARTMENT 9526, P. O. BOX 30516,     LANSING, MI 48909-8016
6875777*        AMERICAN PROFICIENCY INSTITUTE DEPT 9526,     P. O. BOX 30516,    LANSING, MI 48909-8016
6896033*       +ANA CORDERO,    100 VERNON TRAYLOR DR,    SMYRNA TN 37167-5940
6895979*       +ANDREA HULAN,    812 QUEEN ANNES COURT,    NOLENSVILLE, TN 37135-4100
6895960*       +ANGELICA P. GUZMAN,    1933 FAWNS CREEK CROSSING,    MT. JULIET TN 37122-1229
6895866*       +AQUARIUM MAINTENANCE SERVICE,    P. O. BOX 1856,    COLUMBIA, TN 38402-1856
6895859*       +ASE TECHNOLOGY,    7113 PEACH COURT, SUITE 200,    BRENTWOOD, TN 37027-3240
6895736*       +ATHENAHEALTH, INC.,    311 ARSENAL STREET,    WATERTOWN, MA 02472-2785
6895939*        ATMOS ENERGY,    P. O. BOX 790311,     ST. LOUIS, MO 63179-0311
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           ***** BYPASSED RECIPIENTS (continued) *****
6896030*       +AUDIOLOGY SYSTEMS, ATTN: SCOTT BREWER,      50 COMMERCE DRIVE, SUITE 180,
                 SCHAUMBURG, IL 60173-5312
6895936*        AUDIOLOGY SYSTEMS, INC,    DEPT CH 16948,     PALATINE, IL 60055-6948
6895831*        BARTON & ASSOCIATES,    P.O. BOX 417844,     BOSTON, MA 02241-7844
6895878*       +BASS, BERRY & SIMS PLC,    150 THIRD AVENUE SOUTH, SUITE 2800,      NASHVILLE, TN 37201-2017
6895948*       +BCBS OF TN, ATTN: CLAIM REFUND DEPT,     1 CAMERON HILL CIRCLE, BLDG 13,
                 CHATTANOOGA, TN 37402-0013
6895893*       +BCBST,   1 CAMERON HILL CIRCLE,     CHATTANOOGA, TN 37402-0031
6895882*       +BENTLEY’S AIR CONDITIONING,     109 HARTMANN DRIVE,    LEBANON, TN 37087-2515
6895820*        BESSE MEDICAL SUPPLY,    1576 SOLUTIONS CTR,     CHICAGO, IL 60677-1005
6895864*       +BETHANY WENGER,    821 WOODCRAFT DR.,    NASHVILLE, TN 37214-4355
6896023*       +BETHANY WENGER,    821 WOODCRAFT DR.,    NASHVILLE, TN 37214-4355
6875845*       +BETHANY WENGER,    821 WOODCRAFT DR.,    NASHVILLE, TN 37214-4355
6875783*       +BETTER BUSINESS SOLUTIONS,     P.O.BOX 3549,    BRENTWOOD TN 37024-3549
6895825*       +BETTER BUSINESS SOLUTIONS,     P.O.BOX 3549,    BRENTWOOD TN 37024-3549
6895961*       +BETTER BUSINESS SOLUTIONS,     P.O.BOX 3549,    BRENTWOOD TN 37024-3549
6895846*       +BRAVO CONSTRUCTION,    936 CARTHAGE HIGHWAY,     LEBANON, TN 37087-4613
6875804*       +BRIDGES,    935 EDGEHILL AVENUE,    NASHVILLE, TN 37203-4990
6895941*       +BRIDGES,    935 EDGEHILL AVENUE,    NASHVILLE, TN 37203-4990
6895982*       +BRIDGES,    935 EDGEHILL AVENUE,    NASHVILLE, TN 37203-4990
6895751*       +BUTLER SNOW LLP,    150 3RD AVENUE SOUTH SUITE 1600,     NASHVILLE, TN 37201-2046
6895987*       +CADS, ATTN: PATRICIAN HANNA,     1317 SUN VALLEY ROAD,    CLARKSVILLE, TN 37040-4372
6895817*       +CAINE & WEINER C/O PITNEY BOWES PURCHASE,      21210 ERWIN STREET,    WOODLAND HILLS, CA 91367-3714
6895741*       +CAM REALTY, LLC C/O REALTY GROUP NORTH,      109 MONTGOMERY AVENUE SUITE 102,
                 SCARSDALE, NY 10583-5531
6895730*       +CAPSTONE PEDIATRICS, PLLC,     1420 DONELSON PIKE, SUITE B-17,     NASHVILLE, TN 37217-3015
6895834*       +CAROL JOLLY,    P. O. BOX 680662,    FRANKLIN, TN 37068-0662
6895966*       +CASATINA MILLER,    395 BOSCA COURT,    CLARKSVILLE TN 37040-6590
6895891*       +CDE LIGHTBAND,    2021 WILMA RUDOLPH BLVD., P.O.BOX 31509,      CLARKSVILLE, TN 37040-0026
6895734*       +CDS BUSINESS SERVICES,    60 HEMPSTEAD AVE,     WEST HEMPSTEAD NY 11552-2148
6895812*       +CENTENNIAL MEDICAL STAFF ASSOC.,     P. O. BOX 150804,    NASHVILLE, TN 37215-0804
6895873*       +CENTERSTONE HEALTH,    1101 SIXTH AVE N,     NASHVILLE, TN 37208-2650
6895810*       +CHAD S. BOOMERSHINE, MD,     1219 OLYMPIA PLACE,    FRANKLIN, TN 37067-5695
6895887*       +CHAPTER 13 TRUSTEE,    P. O. BOX 340019,     NASHVILLE, TN 37203-0019
6875660*        CHARTER COMMUNICATIONS,    P. O. BOX 9001934,     LOUISVILLE, KY 40290-1934
6895790*        CHARTER COMMUNICATIONS,    P. O. BOX 9001934,     LOUISVILLE, KY 40290-1934
6895838*        CHARTER COMMUNICATIONS,    P. O. BOX 9001934,     LOUISVILLE, KY 40290-1934
6895806*       +CHIRON FINANCIAL, LLC,    1301 MCKINNEY SUITE 2800,     HOUSTON, TX 77010-3079
6895945*       +CHRISTIAN CARE MINISTRY,     PO BOX 120099,    WEST MELBOURNE, FL 32912-0099
6895927*       +CHRISTINA PAASCHE,    3119 HOLLY POINT,     CLARKSVILLE TN 37043-8440
6895748*        CIGNA HEALTHCARE,    P. O. BOX 644546,    PITTSBURGH, PA 15264-4546
6896036*        CIGNA HEALTHCARE & LIFE INSURANCE CO.,      P. O. BOX 182223,    CHATTANOOGA, TN 37422-7223
6895791*        CIT,   21146 NETWORK PLACE,     CHICAGO, IL 60673-1211
6896040*        CLARKSVILLE DEPT OF ELECTRICITY,     PO BOX 31449,    CLARKSVILLE, TN 37040-0025
6895861*       +CLIA LABORATORY PROGRAM,     P.O. BOX 530882,    ATLANTA, GA 30353-0882
6895805*        COMCAST,    P. O. BOX 37601,    PHILADELPHIA, PA 19101-0601
6895814*        COMCAST BUSINESS,    PO BOX 530098,    ATLANTA, GA 30353-0098
6895839*       +COMMERCIAL LAMINATION,    2801 MURFREESBORO ROAD,     ANTIOCH, TN 37013-2011
6896041*       +COMMISSIONER OF FINANCE R. SPRINGER,      200 CASTLE HEIGHTS AVENUE N,     LEBANON, TN 37087-2740
6895809*        COMPANION LIFE INS CO,    ATTN: JESSICA FOURNIER, P.O. BOX 100102,      COLUMBIA, SC 29202-3102
6895953*       +COOK’S PEST CONTROL,    P.O. BOX 280390,     NASHVILLE, TN 37228-0390
6875729*       +CORPORATE CLEANING SYSTEMS,     P. O. BOX 40565,    NASHVILLE, TN 37204-0565
6895765*       +CORPORATE CLEANING SYSTEMS,     P. O. BOX 40565,    NASHVILLE, TN 37204-0565
6895943*       +CORY B. COLLIER,    1505 DEMONBREUN STREET #623,     NASHVILLE, TN 37203-3564
6896045*       +CRYSTAL VANN,    1444 PRIMM ROAD,    ASHLAND CITY, TN 37015-6254
6895879*       +CUBESMART,    1202 ANTIOCH PIKE,    NASHVILLE, TN 37211-3104
6895940*        CURTIS BAY ENERGY - TN,    P. O. BOX 65047,     BALTIMORE, TN 21264-5047
6895892*        D & L DISTRIBUTORS, INC.,     P.O. BOX 993,    BRENTWOOD, TN 37024-0993
6895938*       +DAY COMMUNICATIONS,    2200 ROSA L PARKS BLVD,     NASHVILLE, TN 37228-1306
6895931*       +DAY COMMUNICATIONS, INC.,     3212 WEST END AVENUE, SUITE 201,     NASHVILLE, TN 37203-5835
6895956*       +DCA PHARMACY,    233 BEDFORD WAY,    FRANKLIN, TN 37064-5527
6895898*       +DEA HEADQUARTERS,    ATTN: REG. SECTION, P. O. BOX 2639,      SPRINGFIELD, VA 22152-0639
6896005*       +DEIDRA MCCULLOUGH,    106 ARCHWOOD DRIVE,     MADISON, TN 37115-3062
6895842*        DELTACOM C/O EARTHLINK,    1058 PO BOX 2252,     BIRMINGHAM, AL 35246-1058
6896002*       +DENISE MACLEOD,    1154 OLD JEFFERSON PIKE,     SMYRNA TN 37167-5301
6896027*       +DIANNE WALDRON TREASURER,     C/O TOWN OF SMYRNA, 315 S. LOWRY STREET,     SMYRNA, TN 37167-3416
6895993*       +DONEQUA LYONS,    3424 ELIZABETH JORDAN ST,     NASHVILLE, TN 37209-3842
6895897*       +DONNA HAMACHER,    7409 SOMERSET PL,    NASHVILLE, TN 37221-4612
6895894*       +DONNA HAMACHER, MD,    135 WESTFIELD COURT APT 303,     CLARKSVILLE, TN 37040-5076
6895733*       +DR. EDDIE D. HAMILTON,    4822 POST ROAD,     NASHVILLE, TN 37205-2712
6895975*       +EATHERLY SERVICES,    1670 CAIRO BEND ROAD,     LEBANON, TN 37087-7429
6895827*       +ECHO, INC.,    101 WESTPARK DRIVE SUITE 140,     BRENTWOOD, TN 37027-5031
6895830*       +ECHO, INC. C/O SY.MED DEVELOPMENT, INC.,      101 WESTPARK DRIVE SUITE 140,
                 BRENTWOOD, TN 37027-5031
6895895*       +ELISABETH BEALE RADISH,    610 S. 12TH ST.,     NASHVILLE, TN 37206-3010
6895760*       +ELLKAY, LLC,    259 CEDAR LANE,    TEANECK, NJ 07666-3443
6895998*       +EMELINA QUINONES,    3042 ACE WINTER MEYER DRIVE,     LAVERGNE, TN 37086-3472
6895962*        EMMA, INC.,    75 REMITTANCE DRIVE, SUITE 6222,     CHICAGO, IL 60675-6222
6895899*        ERICA OMONDI,    8741 BARREN FORK,    BON AQUA, TN 37025
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6896015*        ERIKA MONTEZ,    6675 HICKORY SPRINGS DR,     SAN ANTONIO TX 78249
6895951*       +ESTALEE DUNCAN,    216 LUCKY DR,    NASHVILLE, TN 37211-4905
6895755*       +FAIRWAY - GALT, LLC,    728 SHADES CREEK PKY, SUITE 200,      BIRMINGHAM, AL 35209-4453
6895919*        FAMILIES MAGAZINE,    P. O. BOX 729,    HOPKINSVILLE, KY 42241-0729
6896013*       +FIRE SAFETY EQUIPMENT & SERVICE,     4099 BERNARD RD.,     JOELTON, TN 37080-8932
6895850*        FLEXENTIAL F/K/A PEAK 10,     P.O. BOX 536933,    ATLANTA, GA 30353-6933
6895970*        FOUR PLUS CORPORATION C/O 511 GROUP,      1850 NASHVILLE CITY CENTER,
                 511 UNION ST NASHVILLE, TN 37219
6895984*        FRANKLIN COLLECTION SERVICE, INC.,     P. O. BOX 3910,     TUPELO, MS 38803-3910
6895753*       +GARY GRIFFIETH, M.D.,     9045 KEATS STREET,    FRANKLIN, TN 37064-3162
6895759*       +GATEWAY MOB - CLARKSVILLE, TN C/O ARHC,      PO BOX 714423,    CINCINNATI, OH 45271-4423
6896020*       +GERRI WHITE,    2212 DEARBORN DR,    NASHVILLE, TN 37214-1911
6895772*        GLAXOSMITHKLINE PHARMACEUTICALS,     P. O. BOX 740415,     ATLANTA, GA 30374-0415
6895983*       +GLOVER’S LOCK SERVICE,     514 KRAFT STREET,    CLARKSVILLE, TN 37040-3055
6895876*        GN OTOMETRICS NORTH AMERICA,     P. O. BOX 200980,    PITTSBURGH, PA 15251-0980
6896070*       +GORDON N. STOWE & ASSOCIATES, INC.,     586 PALWAUKEE DR.,     WHEELING, IL 60090-6047
6895974*       +GORDON N. STOWE AND ASSOCIATES, INC.,      586 PALWAUKEE DRIVE,    WHEELING, IL 60090-6047
6896038*        GREENSBORO SERVICE CENTER,     P. O. BOX 740800,    ATLANTA, GA 30374-0800
6895925*       +H & H HEATING, AIR, & REFRIGERATION,      2547 MADISON STREET,    CLARKSVILLE, TN 37043-5499
6895946*       +H & J REALTY,    8138 MOORES LANE,    BRENTWOOD, TN 37027-8026
6895822*       +HAMILTON PAINTING,    1204 MURFREESBORO ROAD,     LEBANON, TN 37090-5301
6896072*        HANOVER INSURANCE GROUP,     P.O. BOX 580045,    CHARLOTTE, NC 28258-0045
6895843*       +HARPETH ANSWERING & COMMUNICATIONS,     506 HILLSBORO BOULEVARD SUITE 106,
                 MANCHESTER, TN 37355-1975
6895800*       +HARRIS BRAND RECRUITING,     3100 ROSENDALE ROAD,    NISKAYUNA, NY 12309-1510
6896029*       +HARRIS, KLEIN ASSOCIATES, INC.,     P. O. BOX 2087,    WOODSTOCK, GA 30188-1398
6895935*       +HARRISON’S LOCK SERVICE,     307 WEST MAIN STREET, SUITE H,     LEBANON, TN 37087-3596
6875646*       +HARTMANN CENTRAL, LLC,     1418 PALMER ROAD,    LEBANON, TN 37090-8202
6895749*       +HARTMANN CENTRAL, LLC,     1418 PALMER ROAD,    LEBANON, TN 37090-8202
6895824*       +HARTMANN CENTRAL, LLC,     1418 PALMER ROAD,    LEBANON, TN 37090-8202
6895942*       +HEALTH MEGA MALL,    336 36TH ST,    BELLINGHAM WA 98225-6580
6896051*       +HEALTHSCOPE BENEFITS,     27 CORPORATE HILL DRIVE,    LITTLE ROCK, AR 72205-4537
6895766*       +HEARTHSTONE PROPERTIES, LLC,     4925 VETERANS PARKWAY,     MURFREESBORO, TN 37128-3961
6895789*        HENRY SCHEIN,    DEPT CH 10241,    PALATINE, IL 60055-0241
6896000*       +HERBERT BARRON,    121 SANDI’S LN,    PALMYRA, TN 37142-1200
6895976*       +HICKS HVAC,    991 BRILEY PARKWAY,    NASHVILLE, TN 37217-1901
6895877*      ++HILLER LLC,    915 MURFREESBORO PIKE,     NASHVILLE TN 37217-1501
               (address filed with court: HILLER, LLC,       915 MURFREESBORO PIKE,    NASHVILLE TN 37225)
6896003*       +HOLLY MILLER,    317 50TH AVENUE NORTH,     NASHVILLE, TN 37209-3457
6895836*       +HOSKINS & COMPANY,    1900 CHURCH STREET, SUITE 200,     NASHVILLE, TN 37203-2288
6895912*        HUMANA,   P. O. BOX 931655,     ATLANTA, GA 31193-1655
6896039*       +ICG LINK, INC.,    7003 CHADWICK DRIVE, SUITE 111,     BRENTWOOD, TN 37027-5288
6895795*       +INETCO, LLC,    190B SAUNDERSVILLE ROAD,     HENDERSONVILLE, TN 37075-8901
6895855*       +INFINISOURCE, ATTN: STACEY BOYD,     15 E WASHINGTON STREET,     COLDWATER, MI 49036-1981
6895731*        INTERNAL REVENUE SERVICE,     P.O. BOX 7346,    PHILADELPHIA, PA 19101-7346
6895910*      ++IPFS CORPORATION,    30 MONTGOMERY STREET,     SUITE 1000,    JERSEY CITY NJ 07302-3836
               (address filed with court: IPFS CORPORATION,       900 ASHWOOD PARKWAY, SUITE 370,
                 ATLANTA, GA 30338)
6896021*       +JACLYN PEREZ,    107 RUDOLPH DR,    CLARKSVILLE TN 37040-3849
6895937*        JENNIFER MOJICA,    400 TOLL HOUSE CIRCLE,     FRANKLIN TN 37064
6896037*       +JENNIFER WATSON,    143 HENDON MEMORIAL RD,     SHELBYVILLE, TN 37160-3150
6896009*       +JERRY GILTZ,    1000 WORTHINGTON LANE, APT 10-207,     SPRING HILL, TN 37174-4100
6895915*       +JEWELL MECHANICAL,    1000 ELM HILL PIKE,     NASHVILLE, TN 37210-3504
6895980*        JIHAN SHUKRI,    360 BELL ROAD, APT 303,     ANTIOCH, TN 37013
6895900*       +JONATHAN SPANIER, MD,     1032 GRACELAWN DR,    BRENTWOOD TN 37027-5504
6895994*       +JUNE D. BRYANT,    4004 SOUTHRIDGE BLVD,     MURFREESBORO TN 37128-6854
6895905*       +KACIE WILKES,    2521 ARBOR MIST TRAIL,     HIXON, TN 37343-4538
6895952*       +KAREN BLOUNT,    5582 B ZAPATA DRIVE,     PEGRAM, TN 37143-2300
6896024*       +KATHLEEN WEAKLEY,    1928 STREAMFIELD COURT,     ANTIOCH, TN 37013-5753
6895758*       +KATHY S. GRIFFIETH,    9045 KEATS STREET,     FRANKLIN, TN 37064-3162
6896006*       +KELLY EIGNER,    310 GROSS LANE,    HARTSVILLE, TN 37074-3637
6895978*       +KHALID ABDULKHALIG,    114 GARDENIA STREET,     MT. PLEASANT, TN 38474-1803
6895853*        LABCORP,    PO BOX 12140,    BURLINGTON, NC 27216-2140
6896001*       +LABPLUS,    PO BOX 504975,    ST.LOUIS MO 63150-4975
6895922*       +LAMONT, HANLEY, & ASSOCIATES, INC.,     P. O. BOX 179,     MANCHESTER, NH 03105-0179
6895908*        LBMC, PC,    P. O. BOX 1869,    BRENTWOOD, TN 37024-1869
6896035*       +LEIGHANN BRINKLEY,    901 NORTHERN DANCE LANE,     ELGIN, SC 29045-7127
6896014*       +LESLIE KOMULAINEN,    229 CEDAR BEND CIRCLE,     CLARKSVILLE TN 37043-1881
6895902*       +LINDSEY HERNANDEZ,    1108 PROUD EAGLE,     EAGLEVILLE, TN 37060-4261
6895965*       +LISA LEWIS,    1004 PEMBROOK POINT,    MT. JULIET, TN 37122-8585
6896019*       +LORIE MARSH,    1984 SUGAR FLAT ROAD,     LEBANON TN 37087-7263
6895903*        LUCY MARTIN,    710 CLEO MARTIN DR, APT 340,     NASHVILLE TN 37206
6895763*       +M AND S HOLDINGS LLC,     1511 SUNSET RD,    BRENTWOOD, TN 37027-3511
6895880*        MAILFINANCE, INC,    DEPT 3682, PO BOX 123682,     DALLAS, TX 75312-3682
6895875*        MAIN STREET MEDIA OF TN,     GOULD ENTERPRISES INC., P. O. BOX 8156,     GALLATIN, TN 37066-8156
6895926*       +MAINE STANDARDS CO., LLC,     221 US ROUTE 1,    CUMBERLAND FORESIDE, ME 04110-1345
6895950*       +MAISAM ALKHAFAJI,    109 SHATKLATT LANE COURT,     ANTIOCH, TN 37013-3628
6895803*       +MBLAB CONSULTING,    1106 GETTYSVUE WAY,     KNOXVILLE, TN 37922-5982
6895744*       +MCCURRY CONSTRUCTION, LLC,     2207 SAINT JOSEPH’S COURT,     BRENTWOOD, TN 37027-1806
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6895735*        MCKESSON CORPORATION,    P. O. BOX 634404,     CINCINNATI, OH 45263-4404
6895745*        MCKESSON MEDICAL SURGICAL,     P. O. BOX 634404,    CINCINNATI, OH 45263-4404
6895798*      ++MEDLINE INDUSTRIES INC,    ATTN ANNE KISHA,     ONE MEDLINE PL,    MUNDELEIN IL 60060-4486
               (address filed with court: MEDLINE INDUSTRIES, INC.,       DEPT CH 14400,    PALATINE, IL 60055)
6895985*       +MEGAN THOMAS,    1606 SAMUEL DR,    CLARKSVILLE TN 37043-1738
6895738*        MERCK SHARP & DOHME, CORP.,     P. O. BOX 5254,    CAROL STREAM, IL 60197-5254
6895771*       +MERIDIAN LAW, PLLC,    2900 VANDERBILT PLACE, SUITE 100,     NASHVILLE, TN 37212-2518
6895785*       +MERIDIAN LAW, PLLC,    2002 RICHARD JONES ROAD, SUITE B-200,      NASHVILLE, TN 37215-2892
6895794*        METRO TRUSTEE PERSONALTY TAX DEPT,     P. O. BOX 305012,    NASHVILLE, TN 37230-5012
6896050*       +MHBP FEDERAL EMPLOYEES HEALTH BENEFITS,     P. O. BOX 8402,     LONDON, KY 40742-8402
6896025*       +MICRO AUDIOMETRICS CORP.,     655 KELLER ROAD,    MURPHY, NC 28906-5890
6895930*       +MID-STATE COMMUNICATIONS,     504 HILLSBORO BLVD,    MANCHESTER, TN 37355-1767
6875740*        MIDDLE TN ELECTRIC MEMBERSHIP CORP,     PO BOX 220,    LEBANON, TN 37088-0220
6895857*        MIDDLE TN ELECTRIC MEMBERSHIP CORP,     PO BOX 220,    LEBANON, TN 37088-0220
6895918*        MIDDLE TN ELECTRIC MEMBERSHIP CORP,     PO BOX 220,    LEBANON, TN 37088-0220
6895851*       +MINT CONDITION,    101 SE PARKWAY CT SUITE 230,     FRANKLIN, TN 37064-4022
6895770*       +MOB 147 OF TN C/O HOLLADAY - SKYLINE,     P. O. BOX 404485,     ATLANTA, GA 30384-4485
6895757*       +MOB 147 OF TN C/O HOLLADAY PROPERTIES,     P. O. BOX 404485,     ATLANTA, GA 30384-4485
6895884*       +MODERN BABIES AND CHILDREN NASHVILLE,     1050 GLENBROOK WAY SUITE 480-145,
                 HENDERSONVILLE, TN 37075-1241
6895933*        MONTGOMERY COUNTY TRUSTEE,     P. O. BOX 1005,    CLARKSVILLE, TN 37041-1005
6895870*        MURFREESBORO ELECTRIC DEPARTMENT,     P.O. BOX 9,    MURFREESBORO, TN 37133-0009
6895826*        MUTUAL OF OMAHA,    P. O. BOX 2147,    OMAHA, NE 68103-2147
6895917*       +NASHVILLE AREA HISPANIC CHAMBER OF COM.,      P. O. BOX 40541,    NASHVILLE, TN 37204-0541
6895818*        NASHVILLE ELECTRIC SERVICE,     1214 CHURCH STREET,    NASHVILLE, TN 37246-0003
6875694*       +NATUS MEDICAL, INC.,    DEPT. 33768, P. O. BOX 39000,     SAN FRANCISCO, CA 94139-0001
6895852*       +NATUS MEDICAL, INC.,    DEPT. 33768, P. O. BOX 39000,     SAN FRANCISCO, CA 94139-0001
6895872*       +NATUS MEDICAL, INC.,    DEPT. 33768, P. O. BOX 39000,     SAN FRANCISCO, CA 94139-0001
6895849*       +NAVICURE, INC.,    2055 SUGARLOAF CIRCLE SUITE 600,     DULUTH, GA 30097-4131
6895959*        NEOFUNDS BY NEOPOST,    P. O. BOX 30193,    TAMPA, FL 33630-3193
6895732*       +NEWTEK SMALL BUSINESS FINANCE LLC,     P. O. BOX 297,    LAUREL, NY 11948-0297
6895801*       +NEWTEK TECHNOLOGY SERVICES,     2550 W UNION HILLS DRIVE SUITE 390,     PHOENIX, AZ 85027-5197
6895737*       +NEXTGEN HEALTHCARE C/O QUALITY SYSTEMS,     P. O. BOX 809390,     CHICAGO, IL 60680-9390
6895775*       +NOVACOPY, INC.,    P. O. BOX 372, DEPT 200,     MEMPHIS, TN 38101-0372
6895743*       +NOVAGEN,    10245 WEST LITTLE YORK RD. SUITE 400,     HOUSTON TX 77040-2937
6895777*       +NTL CONTACT CTR MGMT, ATTN: C. BENNETT,       2501 PARK PLAZA BLDG 1-4W,
                 NASHVILLE, TN 37203-1512
6895928*        OAKTREE PRODUCTS, INC.,    610 SPIRIT VALLEY,     EAST CHESTERFIELD, MO 63005
6895923*        OCCUPATIONAL HEALTH CTRS OF THE SW, P.A.,      CO. C/O CONCENTRA, P. O. BOX 82432,
                 ATLANTA, GA 30354-0432
6875840*        OFFICE DEPOT, INC.,    P. O. BOX 633301,    CINCINNATI, OH 45263-3301
6895944*        OFFICE DEPOT, INC.,    P. O. BOX 633301,    CINCINNATI, OH 45263-3301
6896018*        OFFICE DEPOT, INC.,    P. O. BOX 633301,    CINCINNATI, OH 45263-3301
6895773*       +ORTHO CLINICAL DIAGNOSTICS,     100 INDIGO CREEK DRIVE,    ROCHESTER, NY 14626-5101
6896016*       +PAULETTE POE,    402 FABIAN PLACE,    CLARKSVILLE, TN 37043-5941
6895874*        PAYMENT RESOLUTION SERVICES,     ATTN: MSC 410836, P. O. BOX 415000,     NASHVILLE, TN 37241-0836
6895860*       +PEDSTEST.COM,    1013 AUSTIN COURT,    NOLENSVILLE, TN 37135-9737
6895949*       +PERFORMANCE BUSINESS FORMS,     200 BLANTON AVENUE,    NASHVILLE, TN 37210-4704
6895747*        PFIZER INC,    P.O. BOX 100539,    ATLANTA, GA 30384-0539
6895921*        PGBA, LLC - TRICARE REFUNDS,     P. O. BOX 100279,    COLUMBIA, SC 29202-3279
6875821*        PGBA, LLC TRICARE REFUNDS,     P. O. BOX 100279,    COLUMBIA, SC 29202-3279
6895999*        PGBA, LLC TRICARE REFUNDS,     P. O. BOX 100279,    COLUMBIA, SC 29202-3279
6895847*        PIEDMONT NATURAL GAS,    P. O. BOX 660920,     DALLAS, TX 75266-0920
6895788*       +PINNACLE SERVICES, INC.,    2817 WEST END AVENUE, SUITE 126-384,      NASHVILLE, TN 37203-1453
6895807*       +PITNEY BOWES,    PO BOX 371874,    PITTSBURGH, PA 15250-7874
6895767*       +PRACTICE SUITE, INC.,    P.O. BOX 15124,    FREMONT, CA 94539-2224
6895841*       +PRACTIECLINK LIMITED,    PO BOX 100,    HINTON, WV 25951-0100
6896022*       +PRECISION ROLLER,    2102 W QUAIL AE, SUITE 1,     PHOENIX AZ 85027-2656
6895823*       +PRIORITY NASHVILLE CONTRACTING, LLC,     P. O. BOX 41830,    NASHVILLE, TN 37204-1830
6895909*        PROASSURANCE CO RISK RESOURCE DEPT,     P. O. BOX 809196,    CHICAGO, IL 60680-9196
6895778*        PROASSURANCE INDEMNITY COMPANY, INC.,     P. O. BOX 952315,     DALLAS, TX 75395-2315
6896004*       +PROIMAGE FACILITY SERVICES, LLC,     15115 OLD HICKORY BOULEVARD, SUITE B,
                 NASHVILLE, TN 37211-6585
6895784*       +PROP. MGMT ASSOC. OF WNY, ATTN: L. STANG,      90 EARHART DR SUITE 6,
                 WILLIAMSVILLE, NY 14221-7802
6895856*       +RAY & CHRISTINE FOCHLER,    1765 HIGHWAY 25 WEST,     GALLATIN, TN 37066-6112
6895840*       +REAL TIME TRANSLATION, INC,     716 COUNTY RD 10 NE #174,    BLAINE MN 55434-2331
6895796*       +REC. MGMT SERVICES, C/O STAPLES ADVANTAGE,      7525 WEST CAMPUS RD,    NEW ALBANY, OH 43054-1121
6896008*       +REGINALD KING,    P. O. BOX 150214,    NASHVILLE, TN 37215-0214
6895848*       +REVIVE HEALTH,    209 10TH AVENUE SOUTH SUITE 214,     NASHVILLE, TN 37203-0711
6896026*       +RICHELLE DEHARDE,    3443 BINKLEY ROAD,    JOELTON, TN 37080-8745
6895954*       +ROBBIE RODGERS,    406 2ND AVE,    MURFREESBORO TN 37130-4800
6895904*       +RODERICK BAHNER,    P.O. BOX 2191,    BRENTWOOD, TN 37024-2191
6895934*       +RUTHERFORD COUNTY TRUSTEE,     P.O. BOX 1316,    MURFREESBORO, TN 37133-1316
6895779*       +SAFE CLEAN,    164 MCCALL ST,    NASHVILLE TN 37211-3089
6896017*       +SAFEPOINT, LLC,    1214 HUNTERS POINT PIKE, SUITE A,     LEBANON, TN 37087-1100
6895739*       +SANOFI PASTEUR, INC.,    12458 COLLECTIONS CENTER DR.,     CHICAGO, IL. 60693-0001
6895815*       +SCARLETT LEADERSHIP INSTITUTE,     840 CRESCENT CENTRE DRIVE SUITE 120,     FRANKLIN, TN 37067-4632
6896047*       +SCHATONEA NEWBY,    255 CATHY JO DR,    NASHVILLE, TN 37211-3814
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                              Form ID: hrgnot              Total Noticed: 364


           ***** BYPASSED RECIPIENTS (continued) *****
6895776*        SCOTTY W. HARRIS,    281 HICKORY HOLLOW TERRACE,      ANTIOCH, TN 37013-2127
6895967*       +SHAMEKIA CLINTON,    1052 E MONICA DR,     CLARKSVILLE TN 37042-6712
6896010*        SHANTANIK GREEN,    932 OAK MEADOW,    FRANKLIN TN 37064
6895989*       +SHONTA STEWART,    606 FAIRGROUNDS CT,     LEBANON, TN 37087-2274
6895813*        SHORETEL INC. A/K/A MITEL,     4921 SOLUTION CENTER,     CHICAGO, IL 60677-4009
6895990*       +SHRED ON THE RUN,    5904 ROBERTSON AVENUE,     NASHVILLE, TN 37209-1853
6875693*        SHRED-IT USA,    P. O. BOX 13574,    NEW YORK, NY 10087-3574
6895816*        SHRED-IT USA,    P. O. BOX 13574,    NEW YORK, NY 10087-3574
6895871*        SHRED-IT USA,    P. O. BOX 13574,    NEW YORK, NY 10087-3574
6895802*       +SITEX CORPORATION,    P. O. BOX 38,    HENDERSON, KY 42419-0038
6875584*       +SL MANAGEMENT GROUP TN LLC,     788 MORRIS TURNPIKE,     SHORT HILLS, NJ 07078-2634
6895752*       +SL MANAGEMENT GROUP TN LLC,     788 MORRIS TURNPIKE,     SHORT HILLS, NJ 07078-2634
6895762*       +SL MANAGEMENT GROUP TN LLC,     788 MORRIS TURNPIKE,     SHORT HILLS, NJ 07078-2634
6896007*       +SLADJA MILEDIC,    845 WINDSOR GREEN BLVD,     GOODLETTSVILLE, TN 37072-2124
6895869*       +SMILEMAKERS,    P. O. BOX 2543,    SPARTANBURG, SC 29304-2543
6895786*       +SMYRNA MOB, LLC C/O THE STANTON GROUP,      P. O. BOX 993,    BRENTWOOD, TN 37024-0993
6895783*        SNH MED. OFFICE PROPS. TRUST C/O REIT,      DEPT 1600 P. O. BOX 538601,    ATLANTA, GA 30353-8601
6896042*       +SPRING HILL CITY HALL,     P. O. BOX 789,    SPRING HILL, TN 37174-0789
6895932*       +ST. THOMAS HEALTH MEDIAL AFFAIRS,     P. O. BOX 380,     NASHVILLE, TN 37202-0380
6895808*       +ST. THOMAS RUTHERFORD, ATTN: STR FINANCE,      501 GREAT CIRCLE ROAD SUITE 300,
                 NASHVILLE, TN 37228-1332
6895819*       +STEPHEN A. TISDELL C/O TISDELL ASSOC.,      1600 ROSEWOOD COURT,    BRENTWOOD, TN 37027-7954
6895768*       +STERICYCLE, INC., ATTN: SUE HARDER,     4010 COMMERCIAL AVE,     NORTHBROOK, IL 60062-1829
6895896*       +STORPLACE OF MEDICAL CENTER NASHVILLE,      1615 CHARLOTTE AVE,    NASHVILLE, TN 37203-2906
6895929*        TAMER EL-MAHDY,    309 NW 18TH STREET, APT 907,      ANKENY, IA 50023-4267
6896048*       +TE’AIRRA GUINN,    499 SWISS AVE, APT 116A,     NASHVILLE TN 37211-8356
6895761*       +TED R. SANDERS MOVING & WAREHOUSE, INC.,      P. O. BOX 90202,    NASHVILLE, TN 37209-0202
6895988*       +TEN TIMES BETTER CORPORATION,     923 OLDHAM DRIVE #851,     NOLENSVILLE, TN 37135-7517
6895750*       +TENNESSEE DEPT OF REVENUE,     500 DEADRICK ST,    NASVHILLE, TN 37242-0002
6895883*       +TENNESSEE FOREIGN LANGUAGE INST.,     220 FRENCH LANDING DRIVE SUITE 1-B,
                 NASHVILLE, TN 37243-1002
6895924*       +TENNESSEE FOREIGN LANGUAGE INSTITUTE,      220 FRENCH LANDING DRIVE SUITE 1-B,
                 NASHVILLE, TN 37243-1002
6895811*        THE CSI COMPANIES, INC.,     P. O. BOX 890841,    CHARLOTTE, NC 28289-0841
6895797*        THE HANOVER INSURANCE GROUP,     P. O. BOX 580045,     CHARLOTTE, NC 28258-0045
6895845*        THE MATHEWS COMPANY,    P. O. BOX 22149,     NASHVILLE, TN 37202-2149
6895885*       +THE STANTON GROUP,    P. O. BOX 993,    BRENTWOOD, TN 37024-0993
6895913*       +THE TONER DOCTOR,    PO BOX 94,    MADAWASKA, ME 04756-0094
6895769*        THERACOM, LLC,    P. O. BOX 640105,    CINCINNATI, OH 45264-0105
6895957*        TIM JURISIN PLUMBING, INC.,     P. O. BOX 3564,    CLARKSVILLE, TN 37043-3564
6895995*       +TMC,   101 GENERAL FORREST COURT,     SMYRNA, TN 37167-4273
6895780*       +TN DEPT OF LABOR & WORKFORCE,     220 FRENCH LANDING DR,     NASHVILLE, TN 37243-1002
6895986*       +TONIKA MILAN,    110 E ST,    CLARKSVILLE TN 37042-4360
6895881*       +TRACY CARTER,    2503 ANGELYN DR,    MURFREESBORO, TN 37129-4045
6895889*       +TRAVIS CROOK, MD,    1204 JEWELL AVE,     FRANKLIN, TN 37064-5067
6895858*        TRIAGE LOGIC, LLC,    P. O. BOX 79426,     BALTIMORE, MD 21279-0426
6895914*        TW TELECOM,    P. O. BOX 172567,    DENVER, CO 80217-2567
6895833*       +TWO MEN AND A TRUCK,    4801 ALABAMA AVENUE,     NASHVILLE, TN 37209-3448
6895754*        UNITED HEALTHCARE INSURANCE CO DEPT.,      CH 10151,    PALATINE, IL 60055-0151
6895969*        UNITED HEALTHCARE, ATTN: CLAIM REFUND,      P. O. 209011,    DALLAS, TX 75320-9011
6895746*        UNITED STATES TRUSTEE,     P.O. BOX 530202,    ATLANTA, GA 30353-0202
6895792*       +UP TO DATE,    230 THIRD AVE,    WALTHAM, MA 02451-7560
6896011*       +US HEALTHWORKS,    P. O. BOX 741827,    ATLANTA, GA 30374-1827
6895832*        VANDERBILT UNIVERSITY MED CTR,     DEPT OF FINANCE, DEPT AT 40303,     ATLANTA, GA 31192-0303
6895821*       +VANI VEERA, MD,    1801 MORGAN FARMS WAY,     BRENTWOOD TN 37027-1422
6895977*        VANKAT K REDDY, MD,    P. O. BOX 331034,     NASHVILLE, TN 37203-7508
6895829*        VAXSERVE, INC.,    54 GLENMAURA NATIONAL BLVD. STE 301,      MOOSIC, PA 18507-2101
6895787*        VERIZON WIRELESS,    P. O. BOX 660108,     DALLAS, TX 75266-0108
6895742*       +VIII FS-NASHVILLE, LLC C/O CTCRES,     4678 WORLD PARKWAY CIRCLE,     ST. LOUIS, MO 63134-3114
6896028*       +VIRGINIA O’CONNELL,    705 VANVIEW DR, APT. A,     LEBANON TN 37087-4588
6875666*       +VOLUNTEER WELDING SUPPLY, INC.,     815 5TH AVENUE SOUTH,     NASHVILLE, TN 37203-4609
6895793*       +VOLUNTEER WELDING SUPPLY, INC.,     815 5TH AVENUE SOUTH,     NASHVILLE, TN 37203-4609
6895844*       +VOLUNTEER WELDING SUPPLY, INC.,     815 5TH AVENUE SOUTH,     NASHVILLE, TN 37203-4609
6895890*        WASTE MANAGEMENT OF NASHVILLE HAULING,      PO BOX 9001054,    LOUISVILLE, KY 40290-1054
6895865*       +WEIGHT LOSS & WELLNESS SERVICES, LLC,      2801 S MACDILL AVE,    TAMPA, FL 33629-7223
6895963*       +WELCH ALLYN, INC. CREDIT DEPARTMENT,      4341 STATE STREET ROAD,
                 SKANEATELES FALLS, NY 13153-5300
6895828*        WESTGUARD INSURANCE COMPANY,     P. O. BOX 785570,     PHILADELPHIA, PA 19178-5570
6895764*       +WHITE & REASOR,    3100 WEST END AVE SUITE 1100,      NASHVILLE, TN 37203-1348
6895916*       +WILLIAMSON MED CTR MED. STAFF SERVICES,      4321 CAROTHERS PARKWAY,    FRANKLIN, TN 37067-8542
6895964*       +WILSON COUNTY TRUSTEE, JIM MAJOR,     P. O. BOX 865,     LEBANON, TN 37088-0865
6895756*        WINDROSE 310 C/O HEALTHCARE PROP. MGRS,      DEPT 730034 , P. O. BOX 660919,
                 DALLAS, TX 75266-0919
6896043*        WINDSTREAM COMMUNICATIONS,     P.O. BOX 9001950,     LOUISVILLE, KY 40290-1950
6895740*       +WINNIE TOLER,    1221 KILRUSH DR,    FRANKLIN TN 37069-4198
6896049*       +ZARAH KNIGHT,    1519 HWY 49 E,    ASHLAND CITY, TN 37015-2853



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                                      Form ID: hrgnot                    Total Noticed: 364

6875790         ##+ALEXANDRIA MILLER,    748 SHELTON CIRCLE,    CLARKSVILLE TN 37042-7108
6875834         ##+ALISON HOPKINS,    1346 SWEETWATER DRIVE,    BRENTWOOD, TN 37027-7871
6875866         ##+AMANDA BURLISON,    407 ROLLINGWOOD CROSSING,    LEBANON TN 37087-3183
6875689         ##+AMERICAN PLUMBING PROFESSIONALS,     P. O. BOX 111542,    NASHVILLE, TN 37222-1542
6895992         ##+ANDREA BROZEWSKI,    3036 EARHEART RD,    HERMITAGE, TN 37076-3705
6875688         ##+AQUARIUM MAINTENANCE SERVICE,    P. O. BOX 1856,    COLUMBIA, TN 38402-1856
6875686         ##+BETHANY WENGER,    821 WOODCRAFT DR.,    NASHVILLE, TN 37214-4355
6895781         ##+BMW PROPERTIES, LLC,    2420 WEST CLAY DRIVE,    LEBANON, TN 37087-3168
6875603         ##+BMW PROPERTIES, LLC, ATTN: TONYIA WATSON,     2420 WEST CLAY DRIVE,    LEBANON, TN 37087-3168
6875695         ##+CENTERSTONE HEALTH,    1101 SIXTH AVE N,    NASHVILLE, TN 37208-2650
6875765         ##+CORY B. COLLIER,    1505 DEMONBREUN STREET #623,    NASHVILLE, TN 37203-3564
6896063         ##+CRISTA FEDORA,    7201 CHARLOTTE PIKE #203,    NASHVILLE, TN 37209-5065
6896066         ##+CYNTHIA E. COLLINS,    2612 POLO COURT,    NASHVILLE, TN 37211-6993
6875760         ##+DAY COMMUNICATIONS,    2200 ROSA L PARKS BLVD,    NASHVILLE, TN 37228-1306
6875824         ##+DENISE MACLEOD,    1154 OLD JEFFERSON PIKE,    SMYRNA TN 37167-5301
6875716         ##+DONNA HAMACHER, MD,    135 WESTFIELD COURT APT 303,    CLARKSVILLE, TN 37040-5076
6875717         ##+ELISABETH BEALE RADISH,    610 S. 12TH ST.,    NASHVILLE, TN 37206-3010
6875582         ##+ELLKAY, LLC,    259 CEDAR LANE,    TEANECK, NJ 07666-3443
6875796         ##+GORDON N. STOWE AND ASSOCIATES, INC.,     586 PALWAUKEE DRIVE,    WHEELING, IL 60090-6047
6875822         ##+HERBERT BARRON,    121 SANDI’S LN,    PALMYRA, TN 37142-1200
6875843         ##+JACLYN PEREZ,    107 RUDOLPH DR,    CLARKSVILLE TN 37040-3849
6875868         ##+JASMINE GIBSON,    1622 BENTRIDGE CIRCLE,    ANTIOCH TN 37013-3740
6896046         ##+JASMINE GIBSON,    1622 BRENTRIDGE CIR,    ANTIOCH, TN 37013-3740
6896098         ##+JENNIFER STRICKLAND,    1204 HARTFIELD CT,    ANTIOCH, TN 37013-2262
6896074         ##+JONATHAN GARCIA,    1017 TOWNLEY DR.,    MADISON, TN 37115-4424
6875828         ##+KELLY EIGNER,    310 GROSS LANE,    HARTSVILLE, TN 37074-3637
6896075         ##+KOFI ASARE-BAWUAH,    1225 PLUMERIA PL,    NOLENSVILLE, TN 37135-9591
6875787         ##+LISA LEWIS,    1004 PEMBROOK POINT,    MT. JULIET, TN 37122-8585
6875841         ##+LORIE MARSH,    1984 SUGAR FLAT ROAD,    LEBANON TN 37087-7263
6875607         ##+MERIDIAN LAW, PLLC,    2002 RICHARD JONES ROAD, SUITE B-200,     NASHVILLE, TN 37215-2892
6896084         ##+PSS PHYSICIAN SALES & SERVICE, INC.,     4105 ROYAL DR, STE 600,    KENNESAW, GA 30144-6439
6875848         ##+RICHELLE DEHARDE,    3443 BINKLEY ROAD,    JOELTON, TN 37080-8745
6875637         ##+SCARLETT LEADERSHIP INSTITUTE,     840 CRESCENT CENTRE DRIVE SUITE 120,    FRANKLIN, TN 37067-4632
6896091         ##+TATANISHA SMITH MD,    1412 BRENTWOOD TERRACE,    NASHVILLE, TN 37211-7267
6875870         ##+TE’AIRRA GUINN,    499 SWISS AVE, APT 116A,    NASHVILLE TN 37211-8356
6875871         ##+ZARAH KNIGHT,    1519 HWY 49 E,    ASHLAND CITY, TN 37015-2853
                                                                                               TOTALS: 3, * 319, ## 36

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 26, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 24, 2019 at the address(es) listed below:
              DANIEL HAYS PURYEAR   on behalf of Creditor   Newtek Small Business Finance, LLC
               dpuryear@puryearlawgroup.com, paralegalgroup@puryearlawgroup.com
              DANIEL HAYS PURYEAR   on behalf of Creditor   CDS Business Services, Inc. d/b/a Newtek Business
               Credit dpuryear@puryearlawgroup.com, paralegalgroup@puryearlawgroup.com
              DAVID W HOUSTON, IV   on behalf of Debtor   Capstone Pediatrics, PLLC dhouston@burr.com,
               mmayes@burr.com
              EMILY CAMPBELL TAUBE   on behalf of Debtor   Capstone Pediatrics, PLLC etaube@burr.com,
               mmayes@burr.com;cnolan@burr.com
            Case 3:19-bk-01971 Doc 95 Filed 04/26/19 Entered 04/27/19 00:06:08                                            Desc
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District/off: 0650-3          User: las9975               Page 12 of 12                Date Rcvd: Apr 24, 2019
                              Form ID: hrgnot             Total Noticed: 364


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              JOSHUA L BURGENER    on behalf of Creditor    ARHC GMCLKTN01, LLC jburgener@dickinsonwright.com,
               dsolis@dickinsonwright.com;ppardee@dickinsonwright.com
              MATTHEW RYAN GASKE    on behalf of Creditor    TN Dept of Revenue matthew.gaske@ag.tn.gov
              MICHAEL G ABELOW    on behalf of Creditor    SL Airpark, LLC mabelow@srvhlaw.com, scamp@srvhlaw.com
              MICHAEL G ABELOW    on behalf of Creditor    SL Airpark II, LLC mabelow@srvhlaw.com,
               scamp@srvhlaw.com
              NATALIE M. COX    on behalf of U.S. Trustee    US TRUSTEE natalie.cox@usdoj.gov
              RYAN K COCHRAN    on behalf of Creditor    Four Plus Corporation ryan.cochran@wallerlaw.com,
               chris.cronk@wallerlaw.com;Deborah.liles@wallerlaw.com
              SEAN CHARLES KIRK    on behalf of Creditor    Fairway-Galt, LLC skirk@bonelaw.com
              THOMAS WORMOUTH SHUMATE, IV    on behalf of Creditor    Meridian Law, PLLC
               tom.shumate@meridianlawpllc.com
              US TRUSTEE    ustpregion08.na.ecf@usdoj.gov
              WARD W BENSON    on behalf of Creditor    United States of America on behalf of the Internal
               Revenue Service ward.w.benson@usdoj.gov, Eastern.Taxcivil@usdoj.gov
              WILLIAM L NORTON, III    on behalf of Creditor    Athenahealth bnorton@babc.com
                                                                                              TOTAL: 15




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                                   UNITED STATES BANKRUPTCY COURT


                                      MIDDLE DISTRICT OF TENNESSEE

                                             701 Broadway Room 170
                                               Nashville, TN 37203

                                    Bankruptcy Proceeding No. 3:19−bk−01971
                                                   Chapter 11
                                            Judge Randal S Mashburn

In Re:
   Capstone Pediatrics, PLLC
   1420 Donelson Pike Suite B17
   Nashville, TN 37217
Social Security No.

Employer's Tax I.D. No.
  46−3431552

PLEASE TAKE NOTICE that a hearing will be held at:

Courtroom 1, 2nd Floor Customs House, 701 Broadway, Nashville, TN 37203 on 5/14/19 at 09:00 AM

to consider and act upon the following:


91 − Debtor's Motion to Appoint Patient Care Ombudsman is Not Necessary (Attachments: # 1 Proposed Order # 2
Exhibit A− Declaration of Griffieth and Toler) Certificate of Service mailed on 4/24/2019. Filed on the behalf of:
Debtor Capstone Pediatrics, PLLC. (HOUSTON, DAVID)




Dated: 4/24/19                                            /s/ TERESA C. AZAN
                                                          Acting Clerk, U.S. Bankruptcy Court




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                       Imaged Certificate of Notice Page 13 of 13
